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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF INDIANA                ;J OCT - 7 M11O: 2t.
                                       EVANSVILLE DIVISION


     PATRICIA A. TERRANOVA,

                      Plaintiff,
                                                         CASE NO.

                                                       :~
     v.
                                                            : 1 0 -cv- 150 RLY -Wf}H
     SUNRISE CREDIT SERVICES, INC.,                                  COMPLAINT

                      Defendant.




                                               COMPLAINT

                                        I.            INTRODUCTION

          1. This is an action for statutory and actual damages, punitive damages, costs ofthe
             action and a reasonable attorney's fee brought by Plaintiff Patricia A. Terranova
             for violation ofthe Fair Debt Collection Practices Act, 15 U.S.c. § 1692 et seq.,
             by Defendant.

                                         II.          JURISDICTION

          2. Jurisdiction of this court arises under 15 U.S.c. § 1692k(d), 28 U.S.c. §§ 1331,
             and 1337.

                                               III.     PLAINTIFF

          3. Plaintiff Patricia A. Terranova is a natural person residing in Evansville, Indiana.

                                             IV.       DEFENDANT

          4. Defendant Sunrise Credit Services, Inc. (hereinafter "Sunrise") is a for-profit
             foreign corporation with its principle place of business in Farmingdale, New
             York.

          5. At all relevant times herein, Sunrise was operating as a debt collector as defined
             by 15 U.S.C. § 1692a(6).
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                                 V.      STATEMENT OF FACTS

       6. Defendant called Plaintiffs parents' residence and spoke with Plaintiffs father on
          October 8, 2009.

       7. Defendant called Plaintiffs parents' residence and spoke with Plaintiffs mother
          on October 14, 2009.

       8. Defendant called Plaintiffs parents' residence and spoke with Plaintiffs father on
          October 26,2009; Plaintiffs father told the caller that Plaintiff did not live there
          anymore and to please not call there again.

       9. Defendant called Plaintiffs parents' residence and spoke with Plaintiffs father on
          November 5, 2009.

       10. Defendant called Plaintiffs parents' residence and spoke with Plaintiff s father on
           November 12, 2009.

        II. On January 19,2010, Defendant sent Plaintiff a letter, a copy ofwhich is attached
            hereto as Exhibit A.

        12. Exhibit A states in part: "The next step will be for our General Counsel, Bejamin
            Carroccio, Esq. to choose an attorney in your local area to begin a lawsuit against
            you on behalf of our client."

        13. Defendant called Plaintiff several times, including in January and February 2010,
            and spoke with Plaintiff in an abusive, harassing manner.

        14. On June 16, 2010, Defendant sent Plaintiff a letter, a copy ofwhich is attached
            hereto as Exhibit B.

                                   VI.    CLAIMS FOR RELIEF

                                 A. Fair Debt Collection Practices Act

        15. Plaintiff Patricia A. Terranova repeats, re-alleges and incorporates by reference
            paragraphs one through thirteen above.

        16. Defendant violated the Fair Debt Collection Practices Act. These violations
            include, but are not limited to:

                   (a) Calling and harassing Plaintiffs parents in violation of 15 U.S.C. §
                       I692c(b);

                   (b) Calling and harassing Plaintiff in violation of 15 U.S.C. § 1692d;




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                    (c) Failing to provide written notice of the information required by 15
                        U.S.C. § 1692g(a) within five days after the initial communication
                        with Plaintiff;

                    (d) Threatening to take action ("The next step will be for our General
                        Counsel, Bejamin Carroccio, Esq. to choose an attorney in your local
                        area to begin a lawsuit against you on behalf of our client.") that was
                        not intended to be taken in violation ofl5 U.S.c. § 1692e(5).

        17. As a result of these violations of the Fair Debt Collection Practices Act,
            Defendant is liable to Plaintiff Patricia A. Terranova for her actual damages,
            statutory damages, punitive damages, costs, attorney fees and all other appropriate
            relief

         WHEREFORE, Plaintiff Patricia A. Terranova respectfully requests that the Court
     enter judgment in her favor and against Defendant in an amount that will compensate her
     for her actual damages, statutory damages, punitive damages, costs, attorney fees and all
     other appropriate relief


                                                          Respectfully submitted,




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